
683 S.E.2d 212 (2009)
STATE of North Carolina
v.
Wayne Thomas JOHNSON.
No. 119P00-24.
Supreme Court of North Carolina.
August 27, 2009.
Wayne Thomas Johnson, Pro Se.
Daniel P. O'Brien, Amy C. Kunstling, Assistant Attorney Generals, Robert F. Johnson, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 12th day of June 2009 in this matter for a writ of certiorari to review the order of the Superior Court, Alamance County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 27th day of August 2009."
